                Case 3:09-cv-03630-SI Document 44 Filed 03/24/10 Page 1 of 1


12 minutes

                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

                                   CIVIL PRETRIAL MINUTES

Date: 3/19/10

Case No.     C-09-3630 SI            Judge: SUSAN ILLSTON

Title: ASHLEY WILSON -v- PETER KIEWIT

Attorneys:M. Coyle, K. West Moreland, L. Lee               F. Ortman

Deputy Clerk: Tracy Sutton Court Reporter: n/a

                                         PROCEEDINGS

1)   Further Case Management Conference - HELD

2)

3)

Order to be prepared by: ( )Pltf   ( )Deft   ( )Court

Disposition : ( ) GRANTED, ( ) DENIED, ( ) GRANTED/DENIED IN ( ) SUBMITTED
                                    PART

Case continued to 9/17/10   @ 3:00 p.m.. for Further Case Management Conference

Case continued to 9/17/10@ 9:00 a.m. for Motion for Class Certification
(Motion due 8/13/10, Opposition 8/27/10 Reply 9/3/10)

Case continued to    @ 3:30 p.m. for Pretrial Conference

Case continued to @ 8:30 a.m. for Trial (: Days)
Discovery Cutoff: Designate Experts by: , Rebuttal Experts:, Expert Discovery Cutoff:

ORDERED AFTER HEARING:

The motion schedule was continued as indicated above.
